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AO 245B (Rev. 11/16) Sheet 1 - Judgment in a Criminal Case




                                         UNITED STATES DISTRICT COURT
                                                             District of Minnesota

UNITED STATES OF AMERICA                                                    §     RE-SENTENCING JUDGMENT IN A
                                                                            §     CRIMINAL CASE (Remand from USCA)
                                                                            §
v.                                                                          §
                                                                            §     Case Number: 0:14-CR-00362-DWF-SER(1)
PRENTISS ANTHONY CRUMBLE                                                    §     USM Number: 18279-041
                                                                            §     Robert M Christensen
                                                                            §     Defendant’s Attorney

THE DEFENDANT:
☒ pleaded guilty to count(s) 1
☐ pleaded nolo contendere to count(s) which was accepted by the court
☐ was found guilty on count(s) after a plea of not guilty

The defendant is adjudicated guilty of these offenses:
Title & Section / Nature of Offense                                                                      Offense Ended       Count
18:922(g)(1)                               FELON IN POSSESSION OF A FIREARM                              10/21/2014          1




The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

☐ The defendant has been found not guilty on count(s)
☐ Count(s) ☐ is ☐ are dismissed on the motion of the United States
      The Special Assessment in the amount of $100.00 shall be paid in full immediately. If the defendant has not paid the Special
x     Assessment fee, the monies shall be deducted from any wages earned while incarcerated. If not paid while incarnated, payments
      of $25.00 per month to begin 90 days after release.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                     March 5, 2019
                                                                     Date of Imposition of Judgment



                                                                     s/Donovan W. Frank
                                                                     Signature of Judge

                                                                     DONOVAN W. FRANK
                                                                     UNITED STATES DISTRICT JUDGE
                                                                     Name and Title of Judge

                                                                     March 6, 2019
                                                                     Date


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AO 245B (Rev. 11/16) Sheet 2 - Imprisonment
DEFENDANT:                    PRENTISS ANTHONY CRUMBLE
CASE NUMBER:                  0:14-CR-00362-DWF-SER(1)

                                                           IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

89 month(s) as to count 1.

      The court makes the following recommendations to the Bureau of Prisons: That the defendant be designated to a Minnesota
      facility or as close to Minnesota as possible to be near his family and young children. Also, that the defendant be allowed to
☒     participate in the 500-hour Residential Drug Abuse Program offered by the Bureau of Prisons. The Court also recommends that
      defendant be screened for any needed medications or grief issues while in BOP custody.



☒ The defendant is remanded to the custody of the United States Marshal.
☐ The defendant shall surrender to the United States Marshal for this district:

          ☐ at                                           on

          ☐ as notified by the United States Marshal.

☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☐ before                         on
          ☐ as notified by the United States Marshal.
          ☐ as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows:


          Defendant delivered on                                         to


at                                            , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL

                                                                                                      By
                                                                                          DEPUTY UNITED STATES MARSHAL




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AO 245B (Rev. 11/16) Sheet 3 – Supervised Release
DEFENDANT:                    PRENTISS ANTHONY CRUMBLE
CASE NUMBER:                  0:14-CR-00362-DWF-SER(1)

                                                     SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : three (3) years.



                                                    MANDATORY CONDITIONS
 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
           ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check if applicable)
 4.   ☐    You  must   make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
           of restitution. (check if applicable)
 5.   ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6.   ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
           you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.




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AO 245B (Rev. 11/16) Sheet 3A – Supervised Release
DEFENDANT:                    PRENTISS ANTHONY CRUMBLE
CASE NUMBER:                  0:14-CR-00362-DWF-SER(1)

                                  STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
      notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
      officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
      from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
      excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
      10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
      the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
      without first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at www.uscourts.gov.

Defendant's Signature __________________________________________________                       Date ______________________

Probation Officer's Signature ____________________________________________                     Date ______________________




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AO 245B (Rev. 11/16) Sheet 3D – Supervised Release
DEFENDANT:                    PRENTISS ANTHONY CRUMBLE
CASE NUMBER:                  0:14-CR-00362-DWF-SER(1)

                                     SPECIAL CONDITIONS OF SUPERVISION

       a. The defendant shall abstain from the use of alcohol and other drugs and not frequent establishments whose
          primary business is the sale of alcoholic beverages.

       b. The defendant shall complete an immediate assessment or participate in a program for substance abuse as
          approved by the probation officer upon release or relapse during their term of supervised release. That program
          may include testing and inpatient or outpatient treatment, counseling, or a support group. Further, the defendant
          shall contribute to the costs of such treatment as determined by the Probation Office Co-Payment Program, not
          to exceed the total cost of treatment.

       c. The defendant shall submit his person, residence, office, vehicle, or an area under the defendant's control to a
          search conducted by a United States Probation Officer or supervised designee, at a reasonable time and in a
          reasonable manner, based upon reasonable suspicion of contraband or evidence of a supervision violation. The
          defendant shall warn any other residents or third parties that the premises and areas under the defendant's
          control may be subject to searches pursuant to this condition.

       d. The defendant shall participate in a psychological/psychiatric counseling or treatment program, as approved by
          the probation officer. Further, the defendant shall contribute to the costs of such treatment as determined by the
          Probation Office Co-Payment Program not to exceed the total cost of treatment.

       e. If not employed at a regular lawful occupation, as deemed appropriate by the probation officer, the defendant
          may be required to perform up to 20 hours of community service per week until employed. The defendant must
          also participate in training, counseling, daily job search, or other employment-related activities, as directed by
          the probation officer.

       f.   The defendant shall provide the probation officer access to any requested financial information, including credit
            reports, credit card bills, bank statements, and telephone bills.

       g. The defendant shall be prohibited from incurring new credit charges or opening additional lines of credit
          without approval of the probation officer.

       h. The defendant shall cooperate with child support officials to make regular support payments and pay any
          outstanding child support obligations.
       i. The defendant shall participate in educational programming as approved by the probation officer to obtain a
          high school diploma or General Equivalency Diploma.

       j.   As part of the defendant's substance abuse program, the defendant shall make a good faith effort to obtain and
            work with an AA or NA sponsor.

       k. The defendant shall participate in not less than one (1) AA or NA meeting per week




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AO 245B (Rev. 11/16) Sheet 6 – Schedule of Payments
DEFENDANT:                    PRENTISS ANTHONY CRUMBLE
CASE NUMBER:                  0:14-CR-00362-DWF-SER(1)

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ☐ Lump sum payments of $                                              due immediately, balance due

      ☐ not later than                                          , or

      ☐ in accordance                     ☐       C,          ☐        D,         ☐     E, or        ☐      F below; or

B     ☒ Payment to begin immediately (may be combined with                        ☐     C,           ☐      D, or              ☒       F below); or

C     ☐ Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                                  (e.g., months or years), to commence                    (e.g., 30 or 60 days) after the date of this judgment; or

D     ☐ Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $                                over a period of
                                (e.g., months or years), to commence                      (e.g., 30 or 60 days) after release from imprisonment
             to a term of supervision; or

E     ☐ Payment during the term of supervised release will commence within                        (e.g., 30 or 60 days) after release
             from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
             time; or

F     ☒ Special instructions regarding the payment of criminal monetary penalties:
             It is ordered that the Defendant shall pay to the United States a special assessment of $100.00 for Count 1, which
             shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court. If not paid while
             incarnated, payments of $25.00 per month to begin 90 days after release.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐ Joint and Several
      See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
      Several Amount, and corresponding payee, if appropriate:




☐ The defendant shall pay the cost of prosecution.
☐ The defendant shall pay the following court cost(s):

☒ The defendant shall forfeit the defendant’s interest in the following property to the United States:
      All property included in the Final Order of Forfeiture dated August 18, 2016.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.




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